
















COURT OF APPEALS

SECOND DISTRICT OF TEXAS

FORT WORTH 



NO. 2-06-362-CV

TRAVIS L. PARRAMORE	APPELLANT



V.



FORT WORTH HOUSING AUTHORITY	APPELLEE



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FROM COUNTY COURT 
AT LAW NO. 1 OF TARRANT COUNTY

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MEMORANDUM
 
OPINION
(footnote: 1) 
AND JUDGMENT

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On January 26, 2007, we notified appellant that his brief had not been filed as required by Texas Rule of Appellate Procedure 38.6(a). &nbsp;T
EX.
 R. A
PP.
 P. 38.6(a). &nbsp;We stated we would dismiss the appeal for want of prosecution unless appellant or any party desiring to continue this appeal filed with the court within ten days a motion reasonably explaining the failure to file a brief and the need for an extension. &nbsp;We have not received any response.

Because appellant’s brief has not been filed, we dismiss the appeal for want of prosecution. &nbsp;
See
 T
EX
. R. A
PP
. P. 38.8(a), 42.3(b).



PER CURIAM 		





PANEL D: &nbsp;HOLMAN, GARDNER, and WALKER, JJ.



DELIVERED: &nbsp;February 22, 2007

FOOTNOTES
1:See 
Tex. R. App. P. 47.4.




